                      Case 1:21-cr-00105-APM Document 1 Filed 01/13/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                        )
                             v.                                   )
               HENRY PHILLIP MUNTZER                              )      Case No.
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     01/06/2021                in the county of                                 in the
                       District of           Columbia         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. § 1752(a)(1) and (2)                  Restricted Building or Grounds
40 U.S.C. § 5104(e)                             Unlawful Entry or Disorderly Conduct




         This criminal complaint is based on these facts:
See attached affidavit.




         u Continued on the attached sheet.



                                                                                             Complainant’s signature

                                                                                       Jynika Craig, Special Agent- FBI
                                                                                              Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone.                                                                                                2021.01.13
Date:             01/13/2021                                                                              14:54:42 -05'00'
                                                                                                Judge’s signature

City and state:                         Washington, D.C.                   Zia M. Faruqui, United States Magistrate Judge
                                                                                              Printed name and title
